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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

AMYRIS, INC., et al.,                                                Case No. 23-11131 (TMH)

                                  Debtors.1                          (Jointly Administered)

                                                                     Re Docket No. 607

           CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
      REGARDING SECOND MONTHLY APPLICATION OF KTBS LAW LLP FOR
       COMPENSATION AND REIMBURSEMENT OF EXPENSES, AS SPECIAL
        COUNSEL FOR THE DEBTORS ON BEHALF OF AND AT THE SOLE
        DIRECTION OF THE INDEPENDENT DIRECTOR, FOR THE PERIOD
           FROM SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

         The undersigned hereby certifies that:

         1.        On October 20, 2023, KTBS Law LLP (“KTBS”), special counsel for the Debtors

on behalf of and at the sole direction of the Independent Director, filed and served its Second

Monthly Application of KTBS Law LLP for Compensation and Reimbursement of Expenses, as

Special Counsel for the Debtors on Behalf of and at the Sole Direction of the Independent

Director, for the Period from September 1, 2023 through September 30, 2023 [Docket No. 607]

(the “Application”).

         2.        Objections to the Application were to be filed and served no later than November

3, 2023 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the Bankruptcy

Court’s docket in this case to be reviewed, and no answer, objection or other responsive

pleadings to the Application appears thereon. Additionally, no objections to the Application

have been received by the undersigned counsel.

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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.



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         3.        Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Docket No. 279], the Debtors are authorized to

pay KTBS $510,696.80, which represents 80% of the fees ($638,371.00), and $8,446.54 which

represents the expenses requested in the Application, for a total payment of $519,143.34 for the

period from September 1, 2023 through September 30, 2023, upon the filing of this certificate of

no objection and without the need for entry of a Bankruptcy Court order approving the

Application.

Dated: November 9, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Steven W. Golden
                                                Richard M. Pachulski (admitted pro hac vice)
                                                Debra I. Grassgreen (admitted pro hac vice)
                                                James E. O’Neill (DE Bar No. 4042)
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                                                Counsel to the Debtors and Debtors in Possession




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